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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                )    Chapter 11
                                                      )
KABBAGE, INC. d/b/a KSERVICING, et al.,1              )    Case No. 22-10951 (CTG)
                                                      )
                               Debtors.               )    (Jointly Administered)
                                                      )
                                                      )    Hearing Date: January 6, 2023 at 10:00 a.m.
                                                      )    Obj. Deadline: December 29, 2022 at 4:00 p.m.
                                                      )
                                                      )    Related Docket No. 358

                                      NOTICE OF MOTION

         PLEASE TAKE NOTICE that, on December 21, 2022, Customers Bank (the

“Movant”), filed its Motion of Customers Bank for Authorization to File Under Seal Exhibits 3,

3(a), 6, 8, and 9 of the Declaration of Alyssa White in Support of Opposition of Customer’s Bank

to Debtor’s Motion for an Order Enforcing the Settlement Order and Settlement Agreement

Between KServicing and Customers Bank (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that objections or responses to the Motion, if

any, must be made in writing, filed with the Bankruptcy Court, and served so as to actually be

received by the undersigned attorneys for the Movant on or before December 29, 2022 at 4:00

p.m. (the “Objection Deadline”).

         PLEASE TAKE FURTHER NOTICE that a hearing with respect to the Motion, if

required, is scheduled before the Honorable Craig T. Goldblatt at the Bankruptcy Court, 824

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable are: Kabbage, Inc. d/b/a KServicing (3937); Kabbage Canada
Holdings, LLC (N/A); Kabbage Asset Securitization LLC (N/A); Kabbage Asset Funding 2017-A LLC
(4803); Kabbage Asset Funding 2019-A LLC (8973); and Kabbage Diameter, LLC (N/A). Kabbage is a
trademark of American Express used under license; Kabbage, Inc. d/b/a KServicing is not affiliated with
American Express. The Debtors’ mailing and service address is 925B Peachtree Street NE, Suite 383,
Atlanta, GA 30309.
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North Market Street, Third Floor, Courtroom #7, Wilmington, Delaware 19081 on January 6,

2023 at 10:00 a.m.

      PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTION TO THE

MOTION IS TIMELY FILED BY THE OBJECTION DEADLINE IN ACCORDANCE

WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.


Date: December 21, 2022                 SULLIVAN • HAZELTINE • ALLINSON LLC
      Wilmington, Delaware

                                        /s/ William A. Hazeltine
                                        William A. Hazeltine (No. 3294)
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                                            and

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                                        Counsel to Customers Bank




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